                 IN THE UNITED STATES DISTRICT COURT FOR THE
              EASTERN DISTRICT OF TENNESSEE, NORTHERN DIVISION

 PROGRESSIVE HAWAII
 INSURANCE CORPORATION,

                Plaintiff,

 VS.                                                   NO: 3:12-CV-00574
                                                       (VARLAN/GUYTON)

 NAKIA DAVIS, ET. AL.,                                 ORAL ARGUMENT REQUESTED

                Defendants.

          MOTION TO DISMISS OR FOR ORDER COMPELLING DISCOVERY
            AND MOTION FOR EXTENSION OF TIME TO RESPOND TO
                     MOTION FOR SUMMARY JUDGMENT

        Come the defendants, James A. Russell and Angelic Hodge, by and through counsel, who

 would respectfully move the court to dismiss the complaint filed against them; or, alternatively, for

 an order compelling discovery. In the event plaintiff’s claim is not dismissed, the defendants move

 for an extension of time to respond to plaintiff’s motion for summary judgment and for good cause

 would show:

        1. The plaintiff has wholly failed to comply with the provisions of Rule 26(a)(1) pertaining

 to initial disclosures, more than 14 days having elapsed since the parties Rule 26(f) conference;

        2. The defendants Russell and Hodge filed a Rule 34 request for the production of

 documents on March 27, 2013, specifically requesting certain statements in plaintiff’s possession

 of Nakia Davis and Xavier C. Bingham, now deceased; (See Affidavit Exhibit 1 hereto attached).

        3. On May 3, 2013 defendant’s counsel met with plaintiff’s counsel for the purpose of

 conducting a Rule 26(f) conference, at which time plaintiff’s counsel promised that he would

 forthwith deliver the Examinations Under Oath of Davis and Bingham, which statements counsel

 is advised were taken, under oath, on August 14, 2012;




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        4. On May 23, 2013, counsel for the defendant again requested the statements of Davis and

 Bingham via e-mail, which request was ignored by the plaintiff; (See Affidavit Exhibit 2 hereto

 attached).

        5. On June 4, 2013 the plaintiff filed a motion for summary judgment which included

 incomplete statements taken under oath from Davis and Bingham which had been earlier requested

 by the defendants, had been promised to the defendants but never delivered;

        6. The statements incorporated in the motion for summary judgment of the plaintiff, on its

 face, omits 17 pages of the Davis statement and 19 pages of the Bingham statement.

        In support of this Motion and attached hereto, and relied upon is the Affidavit of Robert J

 English, Attorney for Defendants Russell and Hodge and Exhibit 1 and 2 thereto attached.

        WHEREFORE, the defendants Russell and Hodge respectfully move the court to dismiss

 plaintiff’s complaint upon the basis that it has wholly failed to comply with the provisions of Rule

 26. Alternatively, that an order enter compelling discovery upon such terms and conditions as the

 court considers appropriate. In the event the complaint is not dismissed, the defendants move for

 an extension of time within which to respond to plaintiff’s motion for summary judgment.




                                                      s\Robert J. English
                                                      Robert J. English BPR # 1038
                                                      Attorney for Defendants Russell
                                                      and Hodge,
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                                   CERTIFICATE OF SERVICE

         I hereby certify that on June 7, 2013, a copy of the forgoing MOTION TO DISMISS OR

 FOR ORDER COMPELLING DISCOVERY AND MOTION FOR EXTENSION OF TIME

 TO RESPOND TO MOTION FOR SUMMARY JUDGMENT was filed electronically. Notice

 of this filing will be sent by operation of the Court’s electronic filing system to all parties indicated

 on the electronic filing receipt. All other parties will be served by regular U.S. mail as follows.


         Keith Pope, Esquire
         3226 Division Street
         Knoxville, TN 37919

         Gerald Gully, Esquire
         Gully Oldham
         P.O. Box 158
         Knoxville, TN 37901
         Parties may access this filing through the Court’s electronic filing system.



                                                         s\Robert J. English




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